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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                 Filed: September 06, 2018

 Ms. Debra A. Breneman
 Office of the U.S. Attorney, 800 Market Street, Suite 211
 Knoxville, TN 37902

 Mr. Donald Capparella
 Mr. Tyler Chance Yarbro
 Dodson, Parker, Behm & Capparella, 1310 Sixth Avenue, N.
 Nashville, TN 37208

 Mr. David L. Gunn
 Office of the U.S. Attorney, 220 W. Depot Street, Suite 423
 Greeneville, TN 37743

 Mr. J. Alex Little
 Bone McAllester Norton, 511 Union Street, Suite 1600
 Nashville, TN 37219

 Mr. John-David H. Thomas
 Waller, Lansden, Dortch & Davis, 511 Union Street, Suite 2700
 Nashville, TN 37219

                      Re: Case Nos. 16-6655/16-6657, USA v. Ricky Lanier
                          Originating Case No. : 2:14-cr-00083-1

 Dear Counsel,

    The Court issued the enclosed Order today in these cases.

                                                 Sincerely yours,

                                                 s/Cathryn Lovely
                                                 Case Manager
                                                 Direct Dial No. 513-564-7039




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 cc: Mr. John L. Medearis

 Enclosure




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